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                         Exhibit 3
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                                                 Democracy Dies in Darkness




Americans remain stuck in Gaza as U.S. evacuation deal
falters
By Joanna Slater, Samantha Schmidt and Karen DeYoung
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Before dawn on Saturday, Abood Okal and his family received the news they had desperately been waiting for. Okal
and his wife and their 1-year-old son were finally offered a possible way out of Gaza — and back to their home near
Boston.


An email from the U.S. State Department told them the sole border crossing with Egypt “may be open” for a five-
hour window later that day, from noon to 5 p.m.


“If you wish to leave Gaza you may want to take advantage of this opportunity,” the message said.


On Saturday morning, Okal and his family went to the Rafah crossing only to find it closed. There were no officials
on the Palestinian side of the crossing except for a few plainclothes security guards whose job was to keep people
from getting too close to the gate, Okal said.


The U.S. government had negotiated a deal to allow American citizens to leave Gaza and cross into Egypt during the
five-hour window, U.S. officials said Saturday. But Palestinian and Egyptian officials failed to communicate about
opening it, an official at the border said. By the end of the day, no one had been able to cross.


Wael Abu Omar, the Palestinian spokesman for the Rafah crossing, said Palestinian officials had not had any
communication with their counterparts on the Egyptian side. Egyptian media outlets reported that Cairo would only
allow foreigners to cross the border if aid shipments could be delivered to Gaza.


Israel, meanwhile, has said it would strike any trucks coming across the border, especially trucks carrying fuel,
according to a diplomatic official who, like others, spoke on the condition of anonymity because the official was not
authorized to discuss sensitive negotiations.


Officials are discussing the possibility of setting up a screening mechanism that would allow the Israelis to inspect
goods in each vehicle entering Gaza, the diplomat said. Another official familiar with the talks over the aid deliveries
said any agreement would require “Israel to stop bombing the enclave for a few hours.”
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The confusion and uncertainty surrounding the Rafah crossing comes as hundreds of thousands of people have fled
their homes in northern Gaza in response to an evacuation order from Israel’s military, ahead of a possible ground
invasion into the besieged enclave.


An estimated 500 to 600 Palestinian Americans like the Okal family are in Gaza. With no way out, families have
pleaded for help from U.S. officials.


In a statement, a State Department spokesperson said the U.S. government is working to secure the safe exit of U.S.
citizens from Gaza.


“We have informed U.S. citizens in Gaza with whom we are in contact that if they assess it to be safe, they may wish
to move closer to the Rafah border crossing,” the spokesperson said, adding that “there may be very little notice if
the crossing opens and it may only open for a limited time.”


President Biden, in a call Saturday with Israel Prime Minister Benjamin Netanyahu, discussed coordination with the
United Nations, Egypt, Jordan, Israel and others in the region to “ensure innocent civilians have access to water,
food, and medical care,” according to a readout from the call.


U.S. officials have spent the past several days trying to evacuate all U.S. staff in Gaza, a group of about 15
Palestinians that includes three U.S. government employees who work for USAID in Gaza, along with their
immediate family members, according to a diplomatic official familiar with the situation.


Each time, they’ve been stopped at checkpoints near the border inside Gaza and have been unable to leave. In some
cases at these checkpoints, the diplomatic official said, people identifying themselves as Hamas have said none of
them will be able to leave until aid trucks enter the Gaza Strip.


Canadian officials also told citizens on Friday that the Rafah crossing might open Saturday for a five-hour window to
allow Canadians to exit. Foreign Minister Mélanie Joly told reporters Saturday that the “latest information” she had
was that “violence” in the area forced authorities to cancel the operation. She did not elaborate.


On Friday, Okal and his extended family had rushed south from Jabalya in the north of Gaza after the Israeli army
ordered more than 1 million people to evacuate. They scrambled frantically to find cars to fit them all and a place to
stay near the crossing.


Okal, 36, and his family spent hours waiting under the hot sun Saturday. He said there were several hundred people
there, including another American family from New Jersey. He said there were other foreign nationals too, including
Canadians, Swedes, Spaniards and Norwegians.


As the day dragged on, his wife, Wafaa Abuzayda, took their exhausted toddler, Yousef, back to the home where they
are staying with 30 other people, a short drive away. Food vendors near the crossing warned Okal that it was not safe
to stay once the sun set. Still, he remained there until nearly 6 p.m., he said, hoping something might change. When
he began to hear the sound of fighter planes and drones, he knew he had to leave the area.
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this report.
